Case: 1:03-cr-00431-JG Doc #: 396 Filed: 08/17/12 1 of 1. PageID #: 1534


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                       :
UNITED STATES OF AMERICA,                              :
                                                       :         CASE NO. 1:03-CR-00431-2
                  Plaintiff,                           :
                                                       :
vs.                                                    :         ORDER
                                                       :         [Resolving Doc. Nos. 292; 395]
STANLEY CORNELL,                                       :
                                                       :
                  Defendant.                           :
                                                       :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         Pro se petitioner Stanley Cornell has filed motions for discovery in furtherance of his

28 U.S.C. § 2255 petition for relief. [Docs. 292; 395]. The Government has responded to

Cornell’s discovery requests. If Cornell believes that the Governments’s response is insufficient,

then he must file a new motion under Federal Rule of Civil Procedure 37. That Rule 37 motion

must identify (1) a specific description of the addition discovery Cornell seeks and (2) a specific

justification for that additional discovery. Accordingly, the Court DENIES AS MOOT

Cornell’s motion to compel, [Doc. 292]; DENIES Cornell’s motion for in-camera review; and

DENIES AS MOOT the discovery request, [Doc. 395].

         IT IS SO ORDERED.




Dated: August 17, 2012                                           s/       James S. Gwin
                                                                 JAMES S. GWIN
                                                                 UNITED STATES DISTRICT JUDGE




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